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UNITED STATES DISTRICT COURT UNIFS spe:
DISTRICT OF NEW MEXICO WOTRIC: UF wey

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CARL WILSON, an individual, and .
AUDREE WILSON, an individual, Dy te

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Plaintiff,
Vv.

HARPERCOLLINS PUBLISHERS INC.,
a Delaware corporation,

Defendant. :

REPLY MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’ S
MOTION TO COMPEL DISCOVERY AND FOR SANCTIONS

Defendant HarperCollins Publishers Inc. submits this reply
memorandum in further support of its motion, pursuant to Fed. R. Civ.
P. 26(b), 33, 34 and 37, to compel Plaintiffs Carl Wilson and Audree
Wilson to respond to HarperCollins’ First Sets of Interrogatories and
Requests for Production of Documents and for sanctions for their
failure properly to respond.

PRELIMINARY STATEMENT

Plaintiffs’ responsive brief, which is styled "Consolidated
Responsive Brief to Defendant’s Consolidated Motion to Compel," is as
evasive of the points raised in HarperCollins’ opening brief as their
discovery responses are of the requests. Indeed, on virtually every
issue, plaintiffs respond to arguments of their own making, leaving
virtually untouched the arguments made by HarperCollins in its opening
brief.

HarperCollins thus reiterates its request that this Court enter
an order compelling plaintiffs immediately to provide full, nonevasive

responses to the interrogatories and document requests and for

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Sanctions for all of the reasons stated in its opening brief. In
addition, HarperCollins now asks the Court to dismiss Mr. Wilson’s
claim for "Special damages" in the form of lost merchandizing,
recording and sponsorship licensing revenue as a result of his
flagrant failure to produce any documentation in support of those
claims.

HarperCollins’ reply to plaintiffs brief is set forth below.

ARGUMENT

1. Number of Interrogatories: Plaintiffs do not contend that
they failed to answer any particular interrogatory because it exceeded
the number allowed under the local rules. Nor do plaintiffs specify
at what point the interrogatories exceeded the allowed number. In
fact, HarperCollins did not exceed the maximum number of
interrogatories allowed under the local rules; it merely asked
plaintiffs to respond to certain interrogatories for each of the
statements in the book they allege to be defamatory.

2. Injury To Reputation: At the very first conference in this
case this Court asked plaintiffs to articulate their theories on
damages and advised them that they were obligated to formulate those
theories promptly. That plaintiffs still have not done so two years
later is inexcusable.

Plaintiffs continue to seek to avoid meaningful response to
Interrogatory No. 1 by the suggestion that they "interpret[ed] [it] as
asking for a list of the names of persons who read the book."
Responsive Br. at 2. It is plain that this is not what the
interrogatory requests. The interrogatory requests plaintiffs to

"f{i]dentify each person who has formed a diminished opinion of [them]

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as a result of the publication of one or more of the allegedly
defamatory passages from the book .. ." This is the essence of a
damage claim in a defamation case.

However, if it is in fact true, as plaintiffs assert on page 3 of
their responsive brief, that "there is no further substantive
information to provide" in response to Interrogatory No. 1, then a
definitive and final response to that interrogatory should be
compelled from both plaintiffs and they should be precluded from
relying at trial upon testimony from or concerning persons not
heretofore identified who later may be claimed to have formed a
diminished opinion of plaintiffs as a result of the book.!

Plaintiffs fail altogether to respond to HarperCollins argument
concerning Document Request No. 26, which requests documents on
reputational injury. Thus, they should also be precluded from relying
upon any such documents at trial.

3. Proximate Cause and Damages.

Plaintiffs’ theoretical discussion of actual injury and
compensatory damages under Gertz v. Welch, 418 U.S. 323 (1974),

Marchiando v. Brown, 98 N.M. 394 (1982) and New Mexico’s Uniform Jury

 

1. We do not know what plaintiffs mean by stating that they have
"produced their current phone books, which arguably identify persons
who logic suggests have knowledge on the subject of their reputation."
Responsive Br. at 3. But, it certainly is not responsive to
Interrogatory No. 1. We also do not understand the statement that
"Plaintiffs have done additional research and identify Lynn Van Matre
as an additional witness on the subject of actual injury and proximate
cause." Responsive Br. at 3. Does this mean that this person is
someone who has formed a diminished opinion of Mr. Wilson or not? As
with so many of plaintiffs’ responses, HarperCollins is left to guess.

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Instructions, Responsive Br. at 3-5, has nothing to do with the
discovery issues before this Court.?

The interrogatories on proximate cause and damages are very
straightforward. They ask plaintiffs to state the basis for the
allegations in the Second Amended Complaint that the book proximately
caused injury and damages to them and to identify all the evidence and
persons with knowledge concerning those allegations. If the correct
response is that the sole basis for and evidence of the allegations as
to proximate cause and damages are the statements themselves -- which
appears to be what plaintiffs are saying -- then that is the answer
that should be compelled.

Clearly, however, if there are "associates, friends or family
members who can attest to emotional distress or attest to reputation,"
Responsive Br. at 6, HarperCollins is entitled to know who they are
and whether their testimony forms the basis for plaintiffs’
allegations on proximate cause and damages. Further, if the testimony
of such persons is going to form the basis for "possible .. . reports
of Plaintiffs’ Phase II experts" on the subject of damages, Responsive
Br. at 6, then there is absolutely no justification for failing to
identify them now as their identification was clearly called for in
Interrogatory No. 6 to Audree Wilson and Interrogatory Nos. 8 and 9 to
Carl Wilson.

As plaintiffs state that they "do not have any documents to show

general damages," Responsive Br. at 6, they should be precluded from

 

2. HarperCollins will reserve comment upon plaintiffs’
interpretation of the law concerning actual and compensatory damages
until an appropriate, later date.

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relying upon any such documents at trial. Likewise, they should also
be precluded from using any such documents for the purpose of
compiling expert reports on general damages.

4. Privacy Objections. As stated in HarperCollins’ opening
brief, plaintiffs have placed their reputations, the veracity of
statements about their private lives and their emotional and financial
well-being directly at issue in this case. They cannot now attempt to
thwart discovery on these very subjects by asserting a privacy
interest. HarperCollins does not disagree, in principle, with the
notion that the Court must weigh HarperCollins’ need for the requested
information to adequately defend itself against plaintiffs’ claims
against plaintiffs’ legitimate interests in privacy. However, privacy
interests are attenuated, at best, where a party puts his or her
reputation, financial status and emotional state in direct issue ina
defamation case. Plaintiffs have no legitimate interest in keeping
"private" the very matters that they themselves have placed at issue
in this case.?

We have no idea what plaintiffs mean when they say that they

"have complied with what is arguably their minimal obligations to

 

3. Plaintiffs’ reliance upon case law purporting to support their
privilege objections is extremely misleading. See Williams v.
District Court, 866 P.2d 908 (Colo. 1993) (deals with privacy interests
of third parties}; Blake v. Blake, 102 N.M. 354, 695 P.2d 838 (Ct.
App. 1985) (privacy interests of third parties may be considered but
information regarding litigant’s earnings and earning capacity is
discoverable); Rifkind v. Superior Court, 177 Cal. Rptr. 82 (Ct. App.
1981) (disclosure of third party’s business affairs is not prohibited
but requires balancing test); Denver Post Corp. v. University of
Colorado, 739 P.2d 874 (Colo. Ct. App. 1987) (allowed disclosure of
personal personnel files protected under the applicable privacy
statute); Garstang v. Superior Court, 46 Cal. Rptr. 2d 84 (Ct. App.
1995) (denied libel plaintiff access to mediation communications under
a qualified privilege theory).

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identify their physicians." Responsive Br. at 9. Interrogatory No. 2
asks for the identification of "each healthcare provider who has
treated or otherwise cared" for plaintiffs from 1940 to the present.
Document Request Nos. 1 through 4 seek production of healthcare
records for the same time period. The term "healthcare provider" is
defined in the interrogatories and requests as "any hospital,
residential treatment facility, drug or alcohol rehabilitation
facility or service, nurse, nurse practitioner, herbalist, physician,
counselor, psychologist, psychiatrist, or any other care giver,
whether licensed by the state or not." There is no principled reason
for plaintiffs to respond to the interrogatories and requests with
respect to physicians and refuse to respond with respect to
counselors, psychologists, psychiatrists, nurses, etc. Clearly, these
nonphysician healthcare providers may have relevant information
concerning plaintiffs’ emotional and physical histories as well as the
veracity of the statements in the book concerning substance, physical
and psychological abuse.

Similarly, there is also no principled reason to limit the scope
of Interrogatory No. 2 and Document Requests 1 through 4 "to the
period of time depicted in the allegedly defamatory statements (Brian
Wilson’s childhood)." Responsive Br. at 10. First, the statements
alleged to defame Carl Wilson are not limited to Brian Wilson’s

childhood.‘

 

4. They include statements that Carl was involved in the purchase of
heroin in the 1970s, objected to the cost of Brian’s psychiatric
treatment in the 1980’s, delayed in getting psychiatric help for
Dennis Wilson in 1983, consulted with others before making decisions
at unspecified times in his life, threw his weight into the war

. (continued...)

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Second, HarperCollins is entitled to a full picture of both
plaintiffs’ emotional and physical histories to adequately defend
itself against their allegations that they have "suffered shame,
mortification, personal humiliation, mental anguish and emotional
distress, all to [their] general damage in the amount of [Fifteen]
Million Dollars," Second Amended Complaint 44 16, 25, 37, as a result
of the publication of this book. See, e.g., Williams v. District

Court, 866 P.2d at 912 ("a defendant in a defamation action may

 

present any evidence which tends to mitigate damages."). Causes for
their mental suffering other than the publication of the book are
clearly relevant.

With respect to the assertion that "Plaintiff Carl Wilson stated
that none of the medical treatment he received was for drug use (one
subject of the defamatory statements)," Responsive Br. at 9,
HarperCollins has no obligation to take his word for it and is
certainly entitled to review the records for itself. Moreover,
medical and psychiatric treatment he received for other conditions
could have direct relevance as to whether the "emotional distress" he
claims to be suffering was caused by the book as opposed to something
else.

With respect to the interrogatories and document requests that
seek information concerning Audree Wilson’s use or abuse of alcohol or

lack thereof, HarperCollins has already given three reasons why such

 

4. (...continued)

against Eugene Landy in 1986 by withholding Brian Wilson’s pay checks,
caused charges to be filed against Carolyn Williams in 1984, was still
"drinking heavily" in the late 1980s and was callous toward Brian at
various times throughout their adult life.

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information is relevant: (i) it may lead to admissible evidence
concerning Ms. Wilson’s ability to accurately recall the episodes of
abuse reported in the book, (ii) it may provide an explanation for her
behavior in standing by while her husband abused their children, (iii)
it may lead to admissible evidence concerning potential sources for
her alleged emotional distress other than the publication of the book.
Opening Br. at 15. Plaintiffs ignore these reasons altogether but do
offer a fourth rationale for relevance: it may lead to admissible
evidence concerning Ms. Wilson’s reputation prior to the publication
of the book. Responsive Br. at 10. Plaintiffs fail to explain why
there is an inconsistency between the rationale they offer (or the
additional rationales) and the Court’s prior ruling that the
statements in the book about Audree’s drinking are not actionable.
There is no inconsistency.

Plaintiffs neglect to justify the privacy objection with respect
to Interrogatory Nos. 12, 15 and 16 to Audree Wilson, Interrogatory
Nos. 10 and 16 to Carl Wilson and Document Request Nos. 5, 6, 7, 8,
21, 23, 24 and 26. Thus they should be compelled to provide complete
and responsive answers.

5. Financial Records.

Audree Wilson: As stated in HarperCollins’ opening brief, if
Audree Wilson is not claiming that the publication of the book caused
any change in her financial status, then HarperCollins is entitled to
that response to Interrogatory Nos. 12 and 16 and Document Request No.
9 because it constitutes circumstantial evidence that her reputation
has not been damaged. Opening Br. at 10. Plaintiffs fail to address

this point.

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Plaintiffs also fail to address the other arguments presented in
HarperCollins’ opening brief as to why the requests for information
concerning Audree Wilson’s finances are relevant even if she is not
claiming that the publication of the book caused a change in her
financial status -- namely, (i) that evidence that her financial
situation has been enhanced since the publication of the book is
substantial evidence that the book had no significant impact upon her
reputation; and (ii) information concerning her financial affairs is
relevant because it could lead to admissible evidence concerning
causes for her alleged "emotional distress" other than the publication
of the book. Opening Br. at 10. Accordingly, responses should be
compelled whether or not Ms. Wilson’s tax returns might have been
"privileged" in circumstances (other than those presented here) had
she filed her case in California state court.

Carl Wilson: Carl Wilson is claiming a diminution in personal
income as a result of the publication of the book. Thus, to the
extent that information concerning his personal income was ever
privileged, that privilege has clearly been waived. HarperCollins is
entitled to examine Mr. Wilson’s total financial picture to determine
whether there is any merit to his claim that his income has diminished
as a result of the publication of this book. For example, examination
of Mr. Wilson’s financial records might reveal that he has merely
allocated income and money making efforts differently in certain areas
after October, 1991 than he did prior to that time.

With respect to plaintiffs’ assertion that "[t]he only financial
information genuinely at issue is information directly relating to

Carl Wilson’s claim for special damages -- his share of losses in

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Beach Boys’ merchandizing, touring and recording revenues," Responsive
Br. at 12, HarperCollins reiterates that it has been not been provided
with any information or documents concerning merchandizing, recording
and licensing revenues.°

In this vein, plaintiffs have indicated that a document
concerning merchandizing, touring, recording and licensing revenue was
"specially prepared for counsel’s trial preparation (as opposed to
raw, original documentation)." Responsive Br. at 14; Exhibit 4 to
Responsive Br. ¢ 3. This is plain evidence that the requested
documentation is available and within Mr. Wilson’s control.

Mr. Wilson’s conduct in failing to produce documents concerning
his claims for lost merchandizing, recording and licensing revenues is
inexcusable, whether or not his counsel believes that "more reliable
discovery can be had" through a third party subpoena to Brother
Records, Inc. and Brother Tours, Inc. Responsive Br. at 13. Mr.
Wilson is one of the primary shareholders of Brother Records and
Brother Tours. If he had authority to provide information concerning
merchandizing, recording and licensing revenues to his own counsel so
she could draft his response to Interrogatory No. 13 (See Attachment I
to HarperCollins’ Motion to Compel and for Sanctions), he certainly

has authority to produce that information to HarperCollins. An

appropriate sanction for his failure to do so would be to dismiss his

 

5. The only information concerning tour revenues that has been
provided are the "gig sheets" for 1988 through 1995. Such information
was requested for the period 1980 to the present to obtain a
historically relevant base to enable HarperCollins to determine
whether changes in Beach Boys revenues in 1991 are consistent with a
previous pattern. In HarperCollins’ view, three years (i.e. 1988) of
data is clearly insufficient to make this assessment.

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claims for damages in the form of lost merchandizing, recording, and
"sponsorship licensing" revenues. In addition, Mr. Wilson should be
compelled to produce information concerning touring revenues from
1980-1988.

6. Waiver of Privilege: Plaintiffs admit that they have refused
to provide a privilege log of the documents that mention HarperCollins
other than those listed on the privilege log in Phase I on the grounds
that producing such a log for the Phase II documents that mention
HarperCollins (which plaintiffs admit exist) would be "unduly
burdensome." Under the law set forth in HarperCollins’ opening brief,
this subjects plaintiffs to sanctions under Rule 37(b) (2) and can
result a waiver of the privilege. Opening Br. 15-17.

7. Evasive Answers: Section III of HarperCollins opening brief
is not a "request for supplementation," as it is characterized by
plaintiffs. Responsive Br. at 16. That section quite clearly asserts
that plaintiffs’ responses to the enumerated interrogatories and
document requests are purposefully evasive and asks that the Court
compel plaintiffs "to provide complete responses to the
interrogatories and produce documents responsive to the document
requests as written -- not as misinterpreted by plaintiffs." Opening
Br. 11-12. Complete responses to the enumerated interrogatories and
document requests have not been provided.

8. Waiver of Objections: The subject of whether plaintiffs’
responses to the interrogatories and documents requests enumerated in
Section IV of HarperCollins’ opening brief were complete
(notwithstanding the objections) or partial (as provided in Fed. R.
Civ. P. 33(b)(1)) was expressly discussed during the meet and confer.

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At that time, Ms. Dumas represented that these responses were not
partial responses. See Letter dated August 8, 1996 from Katherine
Daniels to Beth Dumas at page 2, first full paragraph. (Attachment G
to HarperCollins Motion To Compel Discovery And For Sanctions).
Plaintiffs are now making the opposite representation to this Court.
They cannot have it both ways.

In any event, plaintiffs do not specify what portions of the
interrogatories they have not answered and have thus waived the
objections.

9. Broad, Conclusory Objections.

Plaintiffs admit that they explained the basis for their
objections only with respect to Interrogatory Nos. 8 and 17 to Audree
Wilson and Interrogatory No. 18 to Carl Wilson. They should be
compelled to do the same with respect to the remaining interrogatories
and document requests enumerated in Section V of HarperCollins’
opening brief. Alternatively, they should be compelled to provide
complete and responsive answers.

CONCLUSTON

For the reasons set forth herein and in HarperCollins’ opening
Memorandum in Support of Its Motion to Compel Discovery and For
Sanctions, HarperCollins requests that this Court enter an Order
compelling plaintiffs Carl and Audree Wilson immediately to provide
full, nonevasive responses to HarperCollins first sets of
interrogatories and document requests and ordering plaintiffs, or
their counsel, or both, to pay HarperCollins’ reasonable expenses,
including attorney’s fees, caused by the failure to provide such
responses in the first instance. In addition, HarperCollins requests

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that the Court enter an Order dismissing Mr. Wilson’s claims for
damages in the form of lost merchandizing and recording revenues due
to his inexcusable failure to produce any documents concerning these
claims.

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We hereby certify that a copy of
the foregoing was delivered

to Ernesto Romero and Beth Dumas by
facsimile and overnight mail

this 9th day of September, 1996,

at the following addresses:

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